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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:06−cr−00239
                                                            Honorable Amy J. St. Eve
Anthony N Calabrese, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 5, 2018:


       MINUTE entry before the Honorable Amy J. St. Eve: as to Anthony N Calabrese:
Motion hearing held on 2/5/18. Defendant's motion for expedited compassionate release
and reduction of sentence [418] is denied. Mailed notice (kef, )




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